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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )         4:03CR3079
                                        )
                  Plaintiff,            )
                                        )
      vs.                               )         MEMORANDUM
                                        )         AND ORDER
LAWRENCE VERNAIL ALLEN,                 )
                                        )
                  Defendant.            )

      On the court’s own motion, and to accommodate a change in the undersigned’s
schedule,

       IT IS ORDERED that Defendant Allen’s sentencing hearing is continued to
Wednesday, August 24, 2005, at 12:00 p.m., before the undersigned United States
District Judge, in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Since this is a criminal case, the
defendant shall be present unless excused by the court.

      August 2, 2005.                       BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
